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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-90295
      Athenex, Inc. and The Official Committee of Unsecured Creditors



      Case Type :                    bk
      Case Number :                  2023-90295
      Case Title :                   Athenex, Inc. and The Official Committee of Unsecured Creditors

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